Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 1 of 15 Page ID #:24642
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 2 of 15 Page ID #:24643




         Under Federal Rule of Civil Procedure 37, a party may not call a witness at
  trial where that party failed to identify the witness as required by Rule 26(a) or (e),
  unless the failure was substantially justified or harmless. See Fed. R. Civ. P.
  37(c)(1).

         First, Nomadix seeks to exclude Peter Warrick, Guest-Tek’s Chief
  Technology Officer, on the ground that Guest-Tek failed to disclose Mr. Warrick
  as a witness until the last day of fact discovery, August 30, 2019. (Dkt. No. 541 at
  2.) However, Guest-Tek states in opposition that it disclosed Mr. Warrick as a
  witness only after Nomadix provided its second supplemental infringement
  contentions, which cited Guest-Tek source code for the first time. (Dkt. No. 603-1
  at 3). Further, Guest-Tek has shown that Mr. Warrick was disclosed as an
  individual with relevant information concerning Guest-Tek’s source code during a
  deposition on August 6, 2019. Cf. Finjan, Inc. v. Proofpoint, Inc., 2015 WL
  9900617, at *2 (N.D. Cal. Oct. 26, 2015) (“[D]eposition testimony identifying
  individuals as witnesses with relevant information is sufficient to discharge the
  duty to supplement.”). Given Guest-Tek’s justification for its belated disclosure of
  Mr. Warrick, and Guest-Tek’s prior identification of Mr. Warrick as an individual
  with information concerning Guest-Tek’s source code, the Court concludes that
  Guest-Tek’s belated disclosure was substantially justified or harmless. The Court
  accordingly declines to exclude Mr. Warrick as a trial witness.

          Second, Nomadix seeks to exclude Al Bryska, Guest-Tek’s Director of
  Software Development, and Marnie Latour, Guest-Tek’s Vice President of
  Financial Analysis, on the ground that Guest-Tek failed to timely disclose these
  individuals as witnesses (Dkt. No. 541.) However, Guest-Tek shows in opposition
  that it disclosed Mr. Bryska after Nomadix’s October 1, 2019 disclosure as to how
  OneView Internet (“OVI”) allegedly infringed the call accounting record format
  limitation of U.S. Patent No. 6,868,399. (Dkt. No. 603-1 at 4.) Additionally, Guest-
  Tek shows that it disclosed Ms. Latour as soon as it became aware that Ms.
  Latour’s testimony was needed, after Nomadix filed a discovery motion
  concerning Guest-Tek’s reporting of customer properties. (Id. at 3–4.)
  Accordingly, the Court concludes that Guest-Tek’s belated disclosure of these
  witnesses was substantially justified. The Court therefore declines to exclude Ms.
  Latour or Mr. Bryska as trial witnesses.

         Third, Nomadix seeks to exclude Abbiy Razvi, Guest-Tek’s Director of
  Client Programs, on the ground that Guest-Tek failed to timely disclose Mr. Razvi
  as a witness. (Dkt. No. 541). In opposition, Guest-Tek argues that it disclosed Mr.
  Razvi after Nomadix provided its October 2019 opening technical expert report,

   CV-90 (12/02)              CIVIL MINUTES – GENERAL                 Initials of Deputy Clerk CB

                                              2
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 3 of 15 Page ID #:24644




  which Guest-Tek claims disclosed for the first time that Nomadix was accusing
  each OVI of infringement. (Dkt. No. 603-1 at 5–6.) However, the record clearly
  shows that Nomadix has consistently argued that each OVI gateway infringed its
  patents. (See Dkt. No. 605-17 at 27:12–17); see also infra at 4–5. Accordingly, the
  Court concludes that Guest-Tek has not shown that its belated disclosure of Mr.
  Razvi was either substantially justified or harmless. The Court accordingly
  GRANTS Nomadix’s motion to exclude Mr. Razvi as a trial witness.1

         Fourth, Nomadix seeks to exclude Gerard Grenier, Dr. Edward Knightly,
  and Dr. Hans Bjorn Rupp on the ground that each individual was not timely
  disclosed as a witness. (Dkt. No. 541.) First, Guest-Tek argues that its disclosure of
  Mr. Grenier was timely, because Guest-Tek disclosed Mr. Grenier as part of its
  petitions for inter partes review in November 2018. However, whether Mr. Grenier
  was identified in the petition for inter partes review is irrelevant. Rather, “[w]hat
  matters here is whether [Guest-Tek] provided sufficient notice that [it] would call
  [Mr. Grenier] in this case.” Finjan, Inc., 2015 WL 9900617, at *3. Because Guest-
  Tek offers no other justification for its belated disclosure of Mr. Grenier, Guest-
  Tek has not met its burden of showing that its untimely disclosure of Mr. Grenier
  was substantially justified or harmless. The Court accordingly GRANTS
  Nomadix’s motion to exclude Mr. Grenier as a trial witness.

         With respect to Dr. Knightly and Dr. Rupp, Guest-Tek shows that it added
  Dr. Rupp and Dr. Knightly as witnesses after it was able to reach these individuals
  for the first time. See Galen v. Ave. of the Stars Assocs., LLC, No. 09-4738, 2011
  WL 837785, at *6 (C.D. Cal. Mar. 1, 2011) (holding that belated disclosure of
  witnesses was justified where the party disclosed the witness after receiving the
  witness’s contact information for the first time). The Court accordingly concludes
  that Guest-Tek has shown that its belated disclosure of Dr. Knightly and Dr. Rupp
  was substantially justified. The Court accordingly declines to exclude Dr. Knightly
  and Dr. Rupp as trial witnesses.

         Finally, Nomadix moves to exclude Michael Swope and Mark Lezama as
  trial witnesses, arguing that Guest-Tek failed to disclose these individuals as
  witnesses until serving its trial witness list at the end of January 2020. (Dkt. No.
  541). In opposition, Guest-Tek provides no justification for these belated

  1
    Nomadix has cited no authority requiring that Guest-Tek’s expert witnesses be prohibited from
  providing expert testimony based on the information provided to them by Mr. Razvi.
  Accordingly, the Court declines to exclude portions of Guest-Tek’s expert witness reports that
  rely on factual information provided by Mr. Razvi.

   CV-90 (12/02)                CIVIL MINUTES – GENERAL                     Initials of Deputy Clerk CB

                                                 3
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 4 of 15 Page ID #:24645




  disclosures, instead arguing that Nomadix knew that Mr. Swope was involved in
  negotiating the License Agreement, and stating that it does not intend to call Mr.
  Lezama “[a]t this point.” (Dkt. No. 603-1 at 7.) Because Guest-Tek has failed to
  substantially justify its belated disclosure of Mr. Swope and Mr. Lezama, the Court
  GRANTS Nomadix’s motion to exclude Mr. Swope and Mr. Lezama as trial
  witnesses.

        In sum, the Court GRANTS in part Nomadix’s motion and excludes Mr.
  Razvi, Mr. Grenier, Mr. Swope, and Mr. Lezama as trial witnesses. The Court
  DENIES in part Nomadix’s motion and declines to exclude Mr. Warrick, Ms.
  Latour, Mr. Bryska, Dr. Knightly, and Dr. Rupp as trial witnesses.

      2. Nomadix’s Motion in Limine No. 2 is GRANTED in part and DENIED
         in part.

         Nomadix seeks to preclude Guest-Tek from offering 128 exhibits at trial on
  the basis that they were not timely disclosed during fact discovery. (Dkt. No. 543
  at 2.) Nomadix further seeks to preclude Guest-Tek’s experts from presenting
  expert opinions that are based on some of these materials. (Id. at 1.) Nomadix
  breaks its request into four parts.

         Exhibit 2045 is a document that Guest-Tek states it created in October 2019.
  (Dkt. No. 629-1 (sealed opposition) at 2.) It includes a list of Guest-Tek customer
  properties where “Guest-Tek supposedly configured its OneView Internet (OVI)
  devices to turn off some of the features that Nomadix contends trigger a royalty
  under the parties’ license agreement.” (Dkt. No. 543 at 2.) Guest-Tek argues that it
  was created “in response to Nomadix’s belatedly disclosed contentions” that each
  OVI gateway infringes the asserted patents, regardless of configuration. (Dkt. No.
  629-1 at 2.) Guest-Tek cites portions of Nomadix’s technical expert’s opening
  report in support of its assertion that Nomadix provided “belated[ ] . . .
  contentions” to this effect. (Id. (citing Expert Report of Stuart Stubblebine, Dkt.
  No. 525-3 at ECF3–ECF276 at Ex. 4 (“’399 Patent and OVI,” ECF79–ECF141) ¶¶
  58, 113; id. at Ex. 5 (“’857 Patent and OVI,” ECF142–ECF190) ¶ 63.))

          At a hearing before the Magistrate Judge in July 2019, Guest-Tek stressed
  that it would be a heavy burden for Guest-Tek to determine the way OVI was
  specifically implemented in each hotel during the relevant royalty period. (Dkt.
  No. 605-17 at 25:13–19 (“They were always asking us to go back thousands of
  hotels, thousands and thousands of quarters, thousands of them, and tell them how
  they can make the box work like it worked in that hotel . . . And it’s just the burden

   CV-90 (12/02)             CIVIL MINUTES – GENERAL                 Initials of Deputy Clerk CB

                                             4
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 5 of 15 Page ID #:24646




  of doing that is incredible, if we could even do it.”).) Although Guest-Tek was not
  ordered to do so, the Magistrate Judge also warned Guest-Tek that if it had
  noninfringement theories based on OVI configurations, it would need to disclose
  them. (Id. at 27:2–11, 28:7–12.) Guest-Tek emphasized that Nomadix bears the
  burden to prove infringement and that “[a]ll that we’re able to do is give them, you
  know, what we can and what we have.” (Id. at 28:1–3.)

         Guest-Tek fails to provide an adequate basis for its delayed preparation and
  disclosure of Exhibit 2045. Guest-Tek’s argument that late preparation of this
  document was warranted by Nomadix’s “belated contentions” is not persuasive.
  The record instead shows that Nomadix has consistently argued the position that
  the “presence within the device of functionality that is infringing” is sufficient
  under the License Agreement to trigger royalties. (Id. at 27:12–17.) But moreover,
  the record suggests that Guest-Tek was specifically asked by Nomadix to provide
  such a disclosure of its configuration contentions during fact discovery, waited to
  do so until expert discovery, and did so solely in a manner to support its own
  defense. Exclusion is appropriate under these circumstances. Nomadix’s motion in
  limine no. 2 is GRANTED in part as to Exhibit 2045.

         Although the Court finds exclusion of Exhibit 2045 appropriate, it is not
  persuaded that exclusion of all of Guest-Tek’s expert’s opinions “based on”
  Exhibit 2045 are warranted. The Court notes that neither Gottesman nor Riley will
  be permitted to, essentially, read the contents of Exhibit 2045 into the record for
  the jury’s consideration.2 To the extent Exhibit 2045 appears as an exhibit to those
  expert’s reports, it will not be permitted as an exhibit at trial. But the Court will not
  grant a wholesale exclusion of Gottesman’s timely-disclosed expert opinions on
  the issue of the configuration of OVI at various Guest-Tek properties at this time.
  See also infra at § 3 (finding Guest-Tek’s “theory” regarding OVI configurations
  will not be excluded from trial). The Court reminds both parties that experts will
  be limited to opinions that they timely disclosed during the course of expert
  discovery, except as otherwise permitted by the Court in this Order and other
  previous Orders. (See, e.g. Expert Report of Dr. Oded Gottesman, Dkt. No. 623 at
  ECF1–ECF29 ¶ 34.)

         Exhibits 2262 and 2282 are “executable software relating to the OVI
  administration console and a product called GlobalNet.” (Dkt. No. 629-1 at 3.)
  Nomadix asserts that even up until the filing date of its motion, Guest-Tek had not
  actually produced these exhibits to Nomadix. Guest-Tek states that it “added the

  2
       At the hearing, Guest-Tek appeared to agree that it would not seek to do so.

      CV-90 (12/02)                 CIVIL MINUTES – GENERAL                      Initials of Deputy Clerk CB

                                                     5
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 6 of 15 Page ID #:24647




  [OVI administration console] executable files to its exhibit list when Nomadix
  revealed that it was accusing ‘[e]ach OVI gateway’ of infringement, regardless of
  configuration.” (Id. at 3–4.) Guest-Tek argues that “Nomadix knows that
  GlobalNet is a prior-art Guest-Tek product cited in Guest-Tek’s invalidity
  contentions.” (Id. at 4.) Guest-Tek argues that, in addition, its expert “should not
  be precluded from testifying about the executable files used for OVI testing in his
  response to Nomadix’s opening expert report” because “he simply ran the files to
  open OVI . . . on a test server that Nomadix has long known about but declined to
  inspect.” (Id. at 5.)

          Guest-Tek should have produced the GlobalNet executable file if it intended
  to rely on the file to support its invalidity claim. Guest-Tek raised a prior art
  invalidity argument involving GlobalNet in its final invalidity contentions, served
  in September 2019. The Court finds that the GlobalNet executable file was not
  (and never has been) timely disclosed and is inadmissible at trial for that reason.
  The same determination applies to the OVI administration console. At the very
  least, even if Guest-Tek learned of some new basis for relying on these executables
  after receiving Nomadix’s opening expert report, it should have attempted to
  properly produce these exhibits to Nomadix at a more appropriate time. (See also
  No. 543 at 9–15 (“Appendix A” to Nomadix’s motion, showing that Guest-Tek
  indeed produced other documents to Nomadix after the fact discovery cut-off).)
  Guest-Tek’s argument that Nomadix’s discovery responses did not call for
  production of these files is a non sequitur. If Guest-Tek intended to rely on the
  files to support its defense, it was obligated to produce them. The Court, however,
  declines to find at this time that Guest-Tek’s expert is similarly precluded from
  presenting opinions relating to these files. At least on the current record and
  particularly as to the OVI administration console, Guest-Tek has presented
  arguments to show that Gottesman solely ran the file in order to open OVI on a test
  server. (Dkt. No. 629-1 at 5.) There does not appear to be a basis for a finding of
  harm to Nomadix in permitting testimony relating to Gottesman’s testing,
  particularly because Gottesman’s opinions are themselves fully disclosed.
  Nomadix’s motion is GRANTED in part and DENIED in part as to these
  exhibits and Gottesman’s opinions relating to them.

         Nomadix also moves for exclusion of various exhibits representing source
  code that Guest-Tek produced for alleged prior art products on the last day of fact
  discovery. (Dkt. No. 543 at 6.) Guest-Tek explained in timely-served final
  invalidity contentions how it intended to rely on the exhibits to form an invalidity
  theory relating to one of its earlier OVI/GlobalNet products. (Id.; see also Dkt. No.
  629-1 at 6.) The Court agrees with Guest-Tek that these exhibits were adequately

   CV-90 (12/02)             CIVIL MINUTES – GENERAL                Initials of Deputy Clerk CB

                                             6
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 7 of 15 Page ID #:24648




  and timely disclosed, and that Nomadix failed to timely object to the allegedly new
  invalidity theory relating to them. Nomadix’s motion is DENIED in part as to
  these exhibits.

         Nomadix’s sweeping bid for exclusion of 90 additional documents is also
  rejected. Nomadix concedes that at least some of the documents were served on the
  last day of fact discovery. Nomadix’s “Appendix A” to its motion notates the
  production date for all the documents challenged by Nomadix’s motion. (See Dkt.
  No. 543 at 9–15.) Although it shows that some of the documents were produced as
  recently as January 30 and 31 of 2020, there is insufficient information provided
  by Nomadix to evaluate whether this late disclosure was substantially justified or
  harmless under Rule 37(c). Nomadix’s motion is DENIED in part as to these
  exhibits.

      3. Nomadix’s Motion in Limine No. 3 is DENIED

        Nomadix moves for exclusion of “theories” that Guest-Tek allegedly failed
  to timely disclose during fact discovery. (Dkt. No. 545.) Nomadix specifically
  argues that three of Guest-Tek’s theories should be excluded.

         First, Nomadix argues that Guest-Tek failed to timely raise a “hotel-specific
  configuration theory” in interrogatory responses. (Dkt. No. 545 at 2–3.) Nomadix
  specifically refers to Guest-Tek’s response to its Interrogatory No. 24. (See Guest-
  Tek’s Responses to Nomadix’s Seventh Set of Interrogatories, Dkt. No. 623 at
  ECF256–ECF264.) Nomadix’s Interrogatory No. 4 requested:

           For each Customer Property and License Quarter, to the extent that
           you will rely on any Configuration Information to contend that you
           did not owe royalties under the License Agreement for that property
           in that quarter, explain in detail how to find in your document
           production the specific configuration settings and matching
           configured values for that property and quarter you will rely on.

  (Id. at ECF260; see also Dkt. No. 557-18 at 2, 3 (defining for purposes of
  Interrogatory No. 24 “Customer Property” as “a property in the United States that
  has used a Guest-Tek Product” and “Configuration Information” as “any
  configuration information, including, for example, the configuration ‘parameters’
  alluded to in your response to interrogatory 5, any configuration files, and any
  boot.xml files.”)). Guest-Tek responded to the interrogatory by stating that “the
  answer to this interrogatory may be determined, with substantially the same burden

   CV-90 (12/02)               CIVIL MINUTES – GENERAL              Initials of Deputy Clerk CB

                                               7
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 8 of 15 Page ID #:24649




  for either party, by examining, auditing, compiling, abstracting, or summarizing
  the following documents: ovi_audited_features_history.csv.” (Dkt. No. 623 at
  ECF261.) Guest-Tek then referred to six settings in “column F of
  ovi_audited_features_history.csv” and stated how modifying those settings would
  impact functioning of OVI. (Id. at ECF261–ECF262.)

         Guest-Tek argues that Nomadix’s Interrogatory No. 24 did not call for
  Guest-Tek to explain its theories for how OVI could be configured not to infringe
  the asserted patents. (Dkt. No. 629-2 at 2.) Guest-Tek states that the interrogatory
  instead “called for an explanation of how to find relevant ‘configuration settings’
  in Guest-Tek’s overall ‘document production.’” (Id.) Guest-Tek alternatively
  argues the following:

           (1)     Nomadix has known that OVI was configurable and asked
                   Guest-Tek witnesses about its configurability during
                   depositions;
           (2)     Nomadix has previously acknowledged that ‘certain
                   configurations’ of OVI were relevant to the question of whether
                   Guest-Tek owed royalties (citing Hearing Tr., July 9, 2019,
                   Dkt. No. 605-17), and
           (3)     Guest-Tek “mentioned, in other interrogatory responses, that
                   OVI was configurable in the identified ways.”

  (Id. at 3.) Guest-Tek also cites Stubblebine’s expert report to support the assertion
  that Nomadix waited until the last day of discovery to disclose that it was accusing
  each OVI gateway of infringement, regardless of configuration. (Id. at 3–4.)

         Nomadix’s Interrogatory No. 24 could have been phrased more artfully.
  Despite that, the Court does not agree with Guest-Tek’s characterizations of
  Nomadix’s interrogatory. In order to fully answer Nomadix’s interrogatory, Guest-
  Tek had to necessarily disclose the configuration settings and “matching
  configured values for [a] property” that would support a noninfringement position
  for that property. Guest-Tek’s argument that Nomadix knew OVI was configurable
  and that “certain configurations” were relevant does not excuse Guest-Tek’s failure
  to disclose during discovery the specific configurations it would argue to support
  noninfringement. (See also Dkt. No. 605-17 at 27:8–11 (Magistrate Judge, stating
  at a discovery hearing, “it may be that’s not even going to be a defense that various
  hotels had it configured differently. But if it is, then you’re going to need to
  explain how it was configured since that – it is a defense.”).) Despite this, the
  Court is not persuaded that excluding Guest-Tek’s theory is itself appropriate. It is

   CV-90 (12/02)                CIVIL MINUTES – GENERAL               Initials of Deputy Clerk CB

                                                8
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 9 of 15 Page ID #:24650




  not clear Nomadix has been prejudiced by the timing of Guest-Tek’s disclosure in
  a way that warrants exclusion. Nomadix did not re-raise an argument regarding
  prejudice on this topic at the hearing. Nomadix had the opportunity to procedurally
  challenge Guest-Tek’s theory when responding to Guest-Tek’s summary judgment
  motion, but chose not to do so. Instead, it argued the merits. On the current record,
  the Court DENIES in part Nomadix’s motion in limine on this basis.

         Second, Nomadix argues that Guest-Tek failed to timely disclose certain
  invalidity theories. Nomadix’s challenge specifically includes invalidity theories
  related to Guest-Tek’s “GlobalNet” and “GlobalMeeting” systems that Guest-Tek
  disclosed in its timely-served final invalidity contentions. The Court has rejected
  Nomadix’s bid in its motion in limine no. 2 to exclude certain exhibits that Guest-
  Tek disclosed by the fact discovery deadline relating to Guest-Tek’s final
  invalidity contentions. The Court also rejects Nomadix’s late bid for exclusion of
  the disclosed invalidity theories themselves. Nomadix delayed too long in bringing
  a challenge to the invalidity theories disclosed in Guest-Tek’s final invalidity
  contentions, and has not established prejudice caused by the timing of their
  disclosure.

          Nomadix also argues that Guest-Tek should not be permitted to argue that
  Linux cbq is invalidating prior art. (Dkt. No. 545 at 4–5.) Nomadix argues that it
  was not until Guest-Tek’s expert’s rebuttal report that “Guest-Tek disclosed an
  invalidity theory based on Linux’s cbq code.” (Id. at 5.) Guest-Tek argues that it
  “had no reason to cite that code until Nomadix cited a later version of the code for
  the first time in its opening technical expert report.” (Dkt. No. 629-2 at 5.) At the
  hearing, Nomadix argued that it had disclosed the relevant source code forming the
  basis for its infringement arguments as part of an interrogatory response years
  earlier, such that Guest-Tek’s delay was not substantially justified. But Nomadix’s
  generalized interrogatory response simply listed source code file names without
  any supporting analysis as to specific limitations of the licensed patents. (Dkt. No.
  625 at ECF189–ECF194 (an exhibit to Nomadix’s responses to Guest-Tek’s First
  Set of Interrogatories, listing without analysis source code file names for each of
  the relevant licensed patents).) This earlier disclosure is insufficient to support
  Nomadix’s argument for exclusion of Guest-Tek’s Linux cbq invalidity theory.
  The Court agrees with Guest-Tek that its expert’s late disclosure is substantially
  justified. On the current record, the Court DENIES in part Nomadix’s motion as
  to Guest-Tek’s allegedly untimely invalidity theories.

        Third, Nomadix argues that Guest-Tek’s damages expert should not be
  permitted to opine that Nomadix double or triple counted Guest-Tek properties in

   CV-90 (12/02)             CIVIL MINUTES – GENERAL                Initials of Deputy Clerk CB

                                             9
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 10 of 15 Page ID #:24651




   preparing a royalty calculation. (Dkt. No. 545 at 8–9.) Nomadix argues that Guest-
   Tek’s supplemental interrogatory response attached and incorporated “quarterly
   active client reports (ACRs)” and Guest-Tek “never mentioned or otherwise
   suggested that its identification of Customer Properties in its ACRs contained
   ‘duplicate’ entries.” (Id. at 9.) The Court agrees with Guest-Tek that it was
   Nomadix’s responsibility to conduct its own accurate accounting based on Guest-
   Tek’s interrogatory response. As Guest-Tek notes, as required by Nomadix’s
   interrogatory, Guest-Tek’s response included unique hotel identifiers that Nomadix
   could use in conducting its property counting. Nomadix’s Interrogatory No. 1 was
   not phrased such that it required a perfect one-to-one correspondence between a
   Guest-Tek property and a line in an excel spreadsheet. (See Dkt. No. 623 at
   ECF284 (Page from Guest-Tek’s Fourth Supplemental Objections and Responses
   to Nomadix’s First Set of Interrogatories).) Guest-Tek is permitted to challenge
   Nomadix’s counting now. Nomadix’s motion in limine is DENIED in part as to
   this issue.

       4. Nomadix’s Motion in Limine No. 4 is DENIED.

         Nomadix seeks to preclude Guest-Tek from relying on the February 7, 2020
   supplemental report of expert Dr. Oded Gottesman, on the ground that it was not
   timely produced, and that its belated disclosure is not substantially justified or
   harmless. (Dkt. No. 546).

          In opposition to Nomadix’s motion, Guest-Tek argues that the February 7,
   2020 supplement from Dr. Gottesman concerned errata Dr. Gottesman made in his
   October 30, 2019 responsive expert report. (Dkt. No. 603-4). According to Dr.
   Gottesman, he corrected the line numbers of source code, and corrected errors
   copying and pasting source code. (Dkt. No. 603-21 at ¶ 1.) Although Nomadix
   argues that these errata changed Dr. Gottesman’s expert opinions, Nomadix fails to
   identify any changed opinion provided by Dr. Gottesman,3 and Dr. Gottesman
   avers that none of the errata change his expert opinions. Id. Accordingly, the Court
   concludes that the February 7, 2020 supplemental report addresses only clerical
   errors made by Dr. Gottesman, which may be properly corrected in an errata. See
   Finjan, Inc. v. Symantec Corp., No. 14-cv-02998, 2018 WL 620156, at *3 (N.D.
   Cal. Jan. 30, 2018) (holding that an errata is proper where an expert does not seek
   to offer substantive revisions or new opinions or conclusions).

   3
     Although Nomadix argues that Dr. Gottesman included new source code
   (“time=time+expires”) that was never produced in this case, Guest-Tek shows that this text,
   time=time+expires, is a comment in the document, not source code.

   CV-90 (12/02)                  CIVIL MINUTES – GENERAL                     Initials of Deputy Clerk CB

                                                  10
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 11 of 15 Page ID #:24652




         The Court therefore DENIES Nomadix’s motion to preclude Guest-Tek
   from relying on the February 7, 2020 supplemental report of Dr. Gottesman.

       5. Nomadix’s Motion in Limine No. 5 is GRANTED.

         Nomadix seeks to preclude Guest-Tek from introducing evidence relating to
   decisions from inter partes review proceedings filed in the U.S. Patent and
   Trademark Office’s Patent Trial and Appeal Board (“PTAB”) against certain
   Nomadix patents. (Dkt. No. 548.) Nomadix also seeks to preclude Guest-Tek from
   introducing evidence relating to decisions from pending litigation in Canada and
   Delaware between the parties. (Id.)

         First, because Guest-Tek does not oppose Nomadix’s motion to exclude
   evidence relating to decisions from pending litigation in Canada and Delaware,
   (Dkt. No. 604), Nomadix’s motion to exclude this evidence is GRANTED.

           Second, Nomadix seeks to exclude evidence relating to PTAB decisions on
   the ground that it is not logically relevant and is unfairly prejudicial. Here, the
   PTAB has instituted inter partes review proceedings on two of Nomadix’s patents:
   U.S. Patent Nos. 7,953,857 and 8,626,922. However, the PTAB has yet to render a
   final decision on the merits of the validity of these patents. Because petitioners in
   the PTAB need only show “a reasonable likelihood that the petitioner would
   prevail with respect to at least 1 of the claims challenged in the petition” to
   institute inter partes review of a patent, 35 U.S.C. § 314(a), courts have held that
   the institution of inter partes review has little probative value in an action to
   determine a patent’s validity. See Ivera Med. Corp. v. Hospira, Inc., No. 14-cv-
   1345, 2015 WL 11529819, at *1 (S.D. Cal. July 21, 2015) (comparing the standard
   for instituting inter partes review with the presumption of patent validity in
   litigation to hold that institution based on a different standard and without a final
   decision has little probative value). Additionally, “[t]elling the jury that the patent
   has been called into question by the Patent Office may influence the jury’s
   application of the presumption of validity and prejudice [Nomadix].” Id.
   Accordingly, the Court concludes that any probative value of evidence relating to
   the PTAB’s institution of inter partes review of U.S. Patent Nos. 7,953,857, and
   8,626,922 is substantially outweighed by a risk of unfair prejudice to Nomadix.4


   4
     The cases cited by Guest-Tek in opposition are inapposite. Both cases cited by Guest-Tek, StoneEagle
   Servs., Inc. v. Pay-Plus Solutions, Inc., No. 13-cv-2240, 2015 WL 3824208, at *9 (M.D. Fl. June 19,

   CV-90 (12/02)                    CIVIL MINUTES – GENERAL                        Initials of Deputy Clerk CB

                                                     11
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 12 of 15 Page ID #:24653




         Because evidence relating to the PTAB decisions to institute inter partes
   review proceedings of U.S. Patent Nos. 7,953,857 and 8,626,922 is of little
   probative value, and risks substantially prejudicing the jury, the Court GRANTS
   Nomadix’s motion to exclude such evidence.

      6. Nomadix’s Motion in Limine No. 6 is DENIED.

         Nomadix seeks to exclude evidence of any statements made in the course of
   mediation between Nomadix and Guest-Tek. (Dkt. No. 550.) In particular,
   Nomadix seeks to exclude evidence of “any communications made between
   Nomadix and Guest-Tek during the April 16, 2014 meditations, including any
   alleged statement by Nomadix that it would not sue Guest-Tek for breach of the
   License Agreement.” (Id. at. 3.)

         The Court finds that Nomadix’s requested motion in limine is both
   overbroad and vague, seeking to exclude broad categories of evidence rather than
   making a particular objection to a particular piece of evidence. See Colton Crane
   Co., LLC v. Terex Cranes Wilmington, Inc., No. 08-cv-8525, 2010 WL 2035800, at
   *1 (C.D. Cal. May 19, 2010) (“[M]otions in limine should rarely seek to exclude
   broad categories of evidence, as the court is almost always better situated to rule on
   evidentiary issues in their factual context during trial.”) The Court accordingly
   DENIES Nomadix’s motion to exclude evidence of any statements made in the
   course of meditation between Nomadix and Guest-Tek.

       7. Nomadix’s Motion in Limine No. 7 is DENIED.

         Nomadix seeks to exclude evidence of any drafts and negotiations of the
   December 30, 2010 License Agreement between the parties, on the ground that
   such extrinsic evidence is barred by California’s parole evidence rule. (Dkt. No.
   552.)

          In opposition, Guest-Tek argues that it intends to introduce evidence of the
   parties’ drafts and comments made in preparing Section 2.10 of the License

   2015), and Universal Elec., Inc. v. Universal Remote Control, Inc., No. 12-cv-00329, 2014 WL 8096334,
   at *7 (C.D. Cal. Apr. 21, 2014) address motions to exclude evidence of denials of requests to institute
   inter partes review proceedings, rather than motions to exclude evidence of institution of those
   proceedings. Where a party seeks to introduce evidence of a denial of inter partes review proceedings,
   such evidence does not pose the same risk of prejudicing the jury’s application of the presumption of
   patent validity. Accordingly, the holdings of these cases do not guide the Court’s application of the
   Federal Rules of Evidence in this case.

   CV-90 (12/02)                    CIVIL MINUTES – GENERAL                        Initials of Deputy Clerk CB

                                                     12
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 13 of 15 Page ID #:24654




   Agreement, the No-Challenge provision. (Dkt. No. 603-6 at 1.) The Court
   previously found on summary judgment that the phrase “asserts any of the
   [patents]” in Section 2.10 of the License Agreement is ambiguous. (Dkt. No. 522.
   at 4-6.) Under California contract law, where a court decides that the language in a
   contract “is fairly susceptible of either one of the two interpretations contended for
   . . . extrinsic evidence relevant to prove either of such meanings is admissible,”
   even where a contract is integrated. See Gerdlund v. Elec. Dispensers Intl., 235
   Cal. Rptr. 279 (Ct. App. 1987) (citing Pac. Gas & Elec. Co. v. G.W. Thomas
   Dryage & Rigging Co., 442 P.2d 641, 644 (Cal. 1968)) (internal quotation marks
   omitted). Thus, to the extent Nomadix seeks to preclude Guest-Tek from
   introducing extrinsic evidence as to the meaning of Section 2.10 of the License
   Agreement, Nomadix’s motion in limine is DENIED.

      8. Nomadix’s Motion in Limine No. 8 is DENIED.

         Nomadix seeks to preclude Guest-Tek from introducing any evidence at trial
   inconsistent with this Court’s ruling that the arbitration provision in Section 7.2 of
   the License Agreement was satisfied. (Dkt. No. 554.)

          The Court finds that this requested motion in limine is both overbroad and
   vague, seeking to exclude broad categories of evidence rather than making a
   particular objection to a particular piece of evidence. See Colton Crane Co., 2010
   WL 2035800, at *1 (“[M]otions in limine should rarely seek to exclude broad
   categories of evidence, as the court is almost always better situated to rule on
   evidentiary issues in their factual context during trial.”) The Court accordingly
   DENIES Nomadix’s motion to exclude any evidence inconsistent with this Court’s
   ruling that the arbitration provision in Section 7.2 of the License Agreement was
   satisfied.

      9. Nomadix’s Motion in Limine No. 9 is DENIED.

          Nomadix seeks to preclude Guest-Tek’s designated expert witness, Michele
   Riley, from offering expert testimony on: (1) Guest-Tek’s fees and costs for inter
   partes review petitions and district court litigation, and (2) post-2015 royalty rates.
   (Dkt. No. 559-1.) Nomadix argues that Ms. Riley’s opinions are speculative and
   are not the result of reliable principles or methods. (Id.)

          Under Federal Rule of Evidence 702, a person qualified as an expert may
   testify in the form of an opinion if: (a) the expert’s scientific, technical, or other
   specialized knowledge will help the trier of fact to understand the evidence or

   CV-90 (12/02)                CIVIL MINUTES – GENERAL                  Initials of Deputy Clerk CB

                                                13
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 14 of 15 Page ID #:24655




   determine a fact in issue, (b) the testimony is based on sufficient facts or data, (c)
   the testimony is the product of reliable principles and methods, and (d) the expert
   has reliably applied the principles and methods to the facts of the case. See Fed. R.
   Evid. 702.

           First, Nomadix seeks to preclude Ms. Riley from offering expert opinion on
   Guest-Tek’s fees and costs for inter partes review petitions and district court
   litigation. In particular, Nomadix argues that Ms. Riley’s opinion that “it is more
   likely than not that the dispute between [Nomadix and Guest-Tek] would have
   been resolved earlier” had Guest-Tek been able to engage in alternative dispute
   resolution is speculative. (Dkt. No. 559-1 at 2) (quoting Dkt. No. 559-6 at ¶ 45.)
   However, Nomadix’s argument rests on a mischaracterization of Ms. Riley’s
   expert report. Ms. Riley does not state that it is her expert opinion that the dispute
   between Nomadix and Guest-Tek would have been resolved earlier had Guest-Tek
   been able to engage in alternative dispute resolution. Rather, Ms. Riley states that
   she “understand[s] Guest-Tek’s position is that, had it not been deprived of the
   opportunity to arbitration, or to engage in the MOU’s provision of having a neutral
   expert evaluate the Guest-Tek design-arounds . . . it is more likely than not that the
   dispute between the parties would have been resolved earlier.” (Dkt. No. 559-6 at ¶
   45.) Based on this asserted position from Guest-Tek, which Guest-Tek intends to
   show independently through other evidence at trial, (see Dkt. No. 603-8 at 2), Ms.
   Riley calculates the fees and expenses Guest-Tek incurred in both the inter partes
   review proceedings and the district court litigation less the amount Guest-Tek
   would have spent in alternative dispute resolution. (Dkt. No. 559-6 at ¶ 45.)
   Accordingly, Nomadix has not shown that Ms. Riley’s opinions as to the fees and
   expenses Guest-Tek incurred is speculative. The Court accordingly declines to
   prohibit Ms. Riley’s expert testimony on the fees and expenses Guest-Tek incurred
   in inter partes review proceedings and district court litigation.

          Second, Nomadix seeks to preclude Ms. Riley from testifying as to her
   opinions on post-2015 royalty rates. In particular, Nomadix seeks to preclude Ms.
   Riley from testifying that: (1) all royalties Guest-Tek has paid after 2015 should be
   fully refunded, and (2) Guest-Tek is entitled to a refund for the amount of royalties
   that Guest-Tek paid above the rates that the parties would have agreed to during
   the course of proper negotiations. (Dkt. No. 559-1 at 4.) However, Ms. Riley does
   not state that it is her expert opinion that all royalties Guest-Tek has paid after
   2015 should be refunded. Rather, Ms. Riley offers calculations for the amount of
   royalty payments that Guest-Tek has made, which could form the basis for
   damages. (See Dkt. No. 559-6 at ¶¶ 26–28). Additionally, Nomadix has failed to
   show that Ms. Riley’s inclusion of Guest-Tek’s proposed royalty rates for the

   CV-90 (12/02)               CIVIL MINUTES – GENERAL                Initials of Deputy Clerk CB

                                               14
Case 2:16-cv-08033-AB-SK Document 644 Filed 03/30/20 Page 15 of 15 Page ID #:24656




   Licensed Patents was based on an unreliable principle or methodology, as Guest-
   Tek has shown that its proposed royalty rates were within the realm of possible
   outcomes for negotiations between the parties. (See Dkt. No. 603-8 at 7.) Finally,
   Guest-Tek has shown that the funds it placed in escrow for Nomadix may form the
   basis for damages for post-2015 royalty payments Guest-Tek made. (Id. at 7–8.)
   Accordingly, the Court declines to find that Ms. Riley’s opinion as to the amount
   of funds placed into an escrow account is overstated, inaccurate, or misleading.

         In sum, Nomadix’s motion to preclude Ms. Riley from offering expert
   testimony on: (1) Guest-Tek’s fees and costs for IPRs and district court litigation,
   and (2) post-2015 royalty rates is DENIED.

           IT IS SO ORDERED.




   CV-90 (12/02)              CIVIL MINUTES – GENERAL                Initials of Deputy Clerk CB

                                              15
